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 7
                            UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9
     CraftShack, Inc., a Delaware                 Case No.
10   Corporation;
11                                                COMPLAINT FOR COPYRIGHT
     Plaintiff,                                   INFRINGEMENT
12

13   v.                                           Jury Trial Demanded

14   Number One Liquor Mart, Inc., a
15   California Corporation; and DOES 1-
     10,
16
17   Defendants.
18
19             CraftShack, Inc. hereby prays to this Court for relief based on the following:
20                               JURISDICTION AND VENUE
21             1.    This action arises under the Copyright Act of 1976, 17 U.S.C. § 101,
22   et seq.
23             2.    This Court has federal question jurisdiction under 28 U.S.C. §§ 1331,
24   1338(a)-(b).
25             3.    Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c)
26   and 1400(a) because this is the judicial district in which a substantial part of the
27   acts and omissions giving rise to the claims occurred.
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 1                                         PARTIES
 2         4.     CraftShack is a Delaware corporation.
 3         5.     Upon information and belief, Defendant Number One Liquor Mart,
 4   Inc. (“Corked”) is a California corporation with its principal place of business 4360
 5   E. Stearns Street, Long Beach, CA 90815. Corked owns, operates, and/or controls
 6   the commercial website stearnsspirits.com and its related/affiliated subdomains,
 7   mobile websites, and applications (collectively, “Corked’s Website”).
 8         6.     Upon information and belief, Defendants DOES 1-10 (“DOE
 9   Defendants”) (collectively with Corked, “Defendants”) are other parties not yet
10   identified who have infringed Plaintiff’s copyrights. The true names, whether
11   corporate, individual, or otherwise, of DOE Defendants are presently unknown to
12   Plaintiff, which therefore sues said DOE Defendants by such fictitious names, and
13   will seek leave to amend this Complaint to show their true names and capacities
14   when the same have been ascertained.
15         7.     Upon information and belief, Plaintiff alleges that each of the
16   Defendants was the agent, affiliate, officer, director, manager, principal, alter-ego,
17   and/or employee of the remaining Defendants, and was at all times acting within
18   the scope of such agency, affiliation, alter-ego relationship, and/or employment;
19   and actively participated in, subsequently ratified, and/or adopted each of the acts
20   or conduct alleged, with full knowledge of each violation of Plaintiff’s rights and
21   the damages to Plaintiff proximately caused thereby.
22              DEFENDANTS’ UNAUTHORIZED EXPLOITATION OF
23                           THE SUBJECT PHOTOGRAPHS
24         8.     CraftShack operates an online craft beer marketplace which ships
25   mostly small and family-owned beer and liquor directly to customers. As part of its
26   business, CraftShack has created a series of hundreds of original photos to
27   “standardize” the professional display of the products it sells on its website. This is
28   important because, while many of the manufacturers of those products offer

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 1   promotional photos of their products, those photos are often incohesive—e.g., shot
 2   with/from different angles, backgrounds, lighting, etc. By creating a homogenous
 3   and stylized collection of product photos, CraftShack has created immense value
 4   for itself and its customers. Indeed, due to the demand for CraftShack’s work,
 5   CraftShack has created a secondary business of offering licenses for the use its
 6   original photos. CraftShack’s website displays hundreds of its original photographs
 7   used to promote the sale of beer and liquor products, and maintaining exclusivity
 8   of use of those high-quality proprietary photos for only CraftShack and its
 9   authorized licensees is crucial to CraftShack’s business.
10         9.     CraftShack took and owns 114 original photographs registered with
11   the U.S. Copyright Office (collectively, the “Subject Photographs”). Copies of the
12   Subject Photographs, along with their titles and registration numbers, are set forth
13   in Exhibit 1.
14         10.    Following the publication and display of the Subject Photographs,
15   Defendants copied, stored, distributed, displayed, and/or otherwise exploited the
16   Subject Photographs on Corked’s Website without CraftShack’s permission (the
17   “Accused Posts”). Copies of screen captures of the Accused Posts are set forth in
18   Exhibit 2.
19                             FIRST CLAIM FOR RELIEF
20         (For Copyright Infringement – Against All Defendants, and Each)
21         11.    Plaintiff incorporates by reference the preceding paragraphs of this
22   Complaint.
23         12.    Upon information and belief, Defendants had access to the Subject
24   Photographs, including through Plaintiff’s website and social media accounts, or
25   viewing the Subject Photographs on third-party websites or Internet search
26   engines.
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                                          COMPLAINT
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 1         13.      Upon information and belief, Defendants copied, stored, distributed,
 2   displayed, and/or otherwise exploited the Subject Photographs on Corked’s
 3   Website without Plaintiff’s permission.
 4         14.      Due to Defendants’ acts of copyright infringement, Plaintiff has
 5   suffered damages in an amount to be established at trial.
 6         15.      Due to Defendants’ acts of copyright infringement, Defendants have
 7   obtained profits they would not have realized but for their infringement of
 8   Plaintiff’s copyrights in the Subject Photographs. As such, Plaintiff is entitled to
 9   disgorgement of Defendants’ profits attributable to the infringement of Plaintiff’s
10   copyrights in the Subject Photographs, in an amount to be established at trial.
11         16.      Upon information and belief, Plaintiff alleges that Defendants
12   committed copyright infringement with actual or constructive knowledge of, or in
13   reckless disregard or willful blindness for, Plaintiff’s copyrights in the Subject
14   Photographs, such that said acts of copyright infringement were willful.
15                                  PRAYER FOR RELIEF
16         Wherefore, Plaintiff prays for judgment as follows:
17               a. That Defendants, each of them, their respective agents, and anyone
18                  working in concert with Defendants and/or their agents, be enjoined
19                  from using the Subject Photographs in a manner that infringes
20                  Plaintiff’s copyrights in the same;
21               b. That Plaintiff be awarded all Defendants’ profits, plus all Plaintiff’s
22                  losses, attributable to Defendants’ infringement of Plaintiff’s
23                  copyrights in the Subject Photographs, the exact sum to be proven at
24                  trial; or alternatively, if elected, statutory damages under 17 U.S.C. §
25                  504;
26               c. That Plaintiff be awarded its costs and fees under 17 U.S.C. § 505;
27               d. That Plaintiff be awarded pre-judgment interest as allowed; and
28               e. That Plaintiff be awarded such further relief as this Court finds proper.

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 1                                    JURY DEMAND
 2         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ.
 3   P. 38 and the 7th Amendment to the United States Constitution.
 4
 5   Dated: January 24, 2024                       DONIGER / BURROUGHS
 6                                          By:    /s/ Stephen M. Doniger
 7
                                                   Stephen M. Doniger, Esq.
                                                   Benjamin F. Tookey, Esq.
 8                                                 Attorneys for Plaintiff
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